
USCA1 Opinion

	










          June 25, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


        No. 95-2012

                                    CHARLES SIMON,

                                Plaintiff, Appellant,

                                          v.

                         UNITED STATES DEPARTMENT OF JUSTICE,
                          FEDERAL BUREAU OF PRISONS, ET AL.,

                                Defendants, Appellees.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Mark L. Wolf, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                 Selya, Cyr and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Charles Simon on brief pro se.
            _____________
            Donald  K. Stern,  United States  Attorney, and  Thomas E. Kanwit,
            ________________                                 ________________
        Assistant  United States Attorney, on brief for appellee United States
        Department of Justice, Bureau of Prisons.
            Robert D. Keefe, James J. Nacklaus and Hale and Dorr on brief  for
            _______________  _________________     _____________
        appellees Wendy Issokson and Erik Lifton.


                                 ____________________


                                 ____________________


                 Per Curiam.  The  judgment is affirmed substantially for
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            the reasons recited by the district court in its orders dated

            August 30, 1995  and May  5, 1995.   Contrary to  plaintiff's

            suggestion, his appeal from the final judgment brings both of

            these  rulings   before  this  court  for   review.    Having

            considered the matters de novo,  rather than under the abuse-
                                   _______

            of-discretion standard  proposed by plaintiff, we  agree that

            his  Eighth and  Fourteenth  Amendment claims  lack even  the

            minimal  factual  specificity  required  to  scale  the  Rule

            12(b)(6)  hurdle.  See, e.g., Aulson v. Blanchard, 83 F.3d 1,
                               ___  ____  ______    _________

            3   (1st  Cir.   1996)   ("bald   assertions,   unsupportable

            conclusions, periphrastic circumlocutions, and the  like need

            not  be  credited").   We  likewise  agree, for  the  reasons

            enumerated by the district  court, that plaintiff's execution

            of   the   "award   acknowledgement   and   acceptance"  form

            extinguished   any   further   claim  for   inmate   accident

            compensation under 18 U.S.C.    4126(c), entitling the Bureau

            of Prisons to summary judgment on that issue. 

                 Affirmed.    See  Loc. R.  27.1.    The  petition for  a
                 ________________________________________________________

            "Peremptory Writ of Mandamus" is denied.
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